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                   UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

MILORAD RAICEVIC                     §
                                     §
Plaintiff                            § CIVIL ACTION NO.: 3:15-cv-327
                                     §
Versus                               §
                                     §
WOOD GROUP PSN, INC., ET AL.         § TRIAL BY JURY DEMANDED
                                     §
Defendants                           §


                    PLAINTIFF’S MOTION IN LIMINE


                                        Respectfully submitted,

                                        MORROW & SHEPPARD LLP


                                        /s/ John D. Sheppard
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                           CERTIFICATE OF SERVICE

      I certify that on November 30, 2017 a true and correct copy of this document was

served on all counsel of record registered with the Court’s ECF filing system.

                                                   /s/ John D. Sheppard
                                                   John D. Sheppard




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       Plaintiff Milorad Raicevic moves the Court to order, before voir dire, that (1)

Defendants’ attorneys, and through them, any and all witnesses called for Defendants, refrain

from commenting on, mentioning, communicating, publishing, or attempting to introduce

evidence of, directly or indirectly, the matters in this Motion; and (2) Defendants’ attorneys

instruct their witnesses not to volunteer, inject, disclose, state, or mention the matters in this

Motion in the presence of the jury, unless and until specifically questioned thereon. Plaintiff

asks the Court to order that, if Defendants’ attorneys intend to offer evidence of the matters

in this Motion, they must first obtain a favorable ruling from the Court outside the presence

and hearing of all prospective jurors and the jurors ultimately selected in this civil action.

       In support of this Motion, Plaintiff shows as follows:

                                               A.

       The matters in this motion are inadmissible for any purpose on proper and timely

objection because they are not relevant to the issue in this case or the rights of the parties.

The matters in this Motion will not have any tendency to make the existence of any material

fact more probable or less probable than it would be without the evidence. See FED. R.

EVID. 401 and 402. Permitting interrogation of the witnesses, comments to the jurors, or

offers of evidence on the matters in this Motion is substantially outweighed by the harm to

Plaintiff. Instead, it would draw the jury’s attention to the prejudicial impact. See FED. R.

EVID. 101 & 103(c). If Defendants inject the matters in this Motion into this trial through a

party, and attorney or a witness, Defendants will cause irreparable harm to Plaintiff, which

no jury instruction would cure. If any of the matters in this Motion are brought to the attention



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of the jury, directly or indirectly, Plaintiff would be forced to move for a mistrial. To avoid

prejudice and a possible mistrial, Plaintiff asks the Court to grant his Motion in Limine.

                                              B.

The following matters are the subject of this Motion in Limine:

   1. The parties’ settlement negotiations or Plaintiff’s offers of settlement. Offers to
      compromise and statements made in comprise negotiations are inadmissible. See
      FED. R. EVID. 408. The probative value of this evidence is substantially outweighed
      by the danger of unfair prejudice, confusion of the issues, and misleading the jury.
      See FED. R. EVID. 408.


        Agreed               Granted               Modified             Denied

   2. References to persons or the purported testimony of persons who have not been
      properly and timely disclosed in Defendants’ responses to Plaintiff’s written
      discovery and in Defendants’ Rule 26 disclosures. See FED. R. CIV. P. 37; FED. R.
      EVID. 802 AND 804.



        Agreed               Granted               Modified             Denied

   3. References or attempting to introduce documents or tangible things or the contents
      of documents or tangible things that have not been properly and timely produced or
      made available to Plaintiff in Defendants’ Rule 26 disclosures or in Defendants’
      responses to Plaintiff’s written discovery. See FED. R. CIV. P. 37.



        Agreed               Granted               Modified             Denied


   4. References to experts or the purported testimony of any expert who has not been
      identified or whose status as an expert has not been disclosed to Plaintiff. See FED.
      R. CIV. P. 37; Alldread v. City of Grenada, 988 F.2d. 1425, 1435-36 (5th Cir. 1993).


        Agreed               Granted               Modified             Denied
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5. Expert-witness opinions that have not been disclosed to Plaintiff or are otherwise
   outside the scope of the expert’s written opinion produced during pretrial discovery
   or their depositions. See FED. R. CIV. P. 37; Alldread v. City of Grenada, 988 F.2d
   1425, 1435-36 (5th Cir. 1993); Thudium v. Allied Products Corp. 36 F.3d 797, 769-
   70 (8th Cir. 1994).


    Agreed                Granted               Modified              Denied

6. References or questioning that suggest or implies that Plaintiff or his expert
   witnesses, relatives, agents, employees, attorneys, or representatives have been
   accused of, or have been found guilty of, any crimes or criminal conduct. See FED.
   R. EVID. 402, 403, 404, 608, and 609. U.S. v. Carter, 528 F.2d 844, 846-47 (8th Cir.
   1975).


    Agreed                Granted               Modified              Denied

7. That Defendants not make reference to, mention, elicit, testimony, or present
   evidence of any personal habits, character traits, and any crimes, arrests, convictions,
   wrongs or acts of Plaintiff, any witness called by Plaintiff, or Plaintiff’s family
   members, including, but not limited to, smoking, fighting, drinking alcoholic
   beverages, womanizing, prior marriages, abortions, illegitimate children, traffic
   violations, illegal drug use, drug and/or alcohol rehabilitation programs, prescription
   drug use, criminal acts, criminal charges, criminal convictions, and swearing. There
   is no evidence or allegation that those habits, character traits, crimes, wrongs, or acts,
   if any, contributed in any way to the occurrence made the basis of this suit or are
   relevant to the determination of any issue in this suit. Furthermore, the probative
   value of those matters is substantially outweighed by the danger of unfair prejudice,
   confusion of the issues, and misleading the jury. This type of evidence would only
   be offered for the impermissible purpose of portraying Plaintiff, his witnesses, or
   Plaintiff’s family members as bad persons. See FED. R. EVID. 404, 608(b), and
   609(a).


    Agreed                Granted               Modified              Denied

8. Any reference to the fact that Plaintiff receives any benefits from any collateral
   source.



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    Agreed                Granted               Modified              Denied


9. References, questioning or argument that suggest or implies that Plaintiff or his
   expert witnesses, relatives, agents, employees, attorneys, or representatives have
   failed to report income to the Internal Revenue Service or any other agency
   responsible for the assessment and collection of taxes or have not filed state or federal
   income tax returns in the past. See FED. R. EVID. 402, 403, and 404.


    Agreed                Granted               Modified              Denied

10. References to or questioning about what effect the verdict or judgment in this lawsuit
   will or could have on insurance rates, premiums or charges. See FED. R. EVID. 402
   and 403.


    Agreed                Granted               Modified              Denied

11. That Defendants not make reference to, mention, elicit, testimony, or present
   evidence of any prior lawsuits, claims, workers’ compensation claims, disability
   claims, unemployment claims, or any similar claims made by or on behalf of Plaintiff.
   There is no evidence or allegation that those claims, if any, contributed in any way
   to the occurrence made the basis of this suit or are relevant to the determination of
   any issue in this suit. Furthermore, the probative value of those matters is
   substantially outweighed by the danger of unfair prejudice, confusion of the issues,
   and misleading the jury. This type of evidence would only be offered for the
   impermissible purpose of portraying Plaintiff as a bad person. See FED. R. EVID.
   404, 608(b), and 609(a).


    Agreed                Granted               Modified              Denied

12. References or arguments implying or suggesting to the jury that Defendants’ conduct
   must be the sole proximate cause of Plaintiff’s damages or injuries in order for
   Defendants to be liable or for Plaintiff to recover damages. This argument would be
   a misstatement of the law and only calculated to falsely and incorrectly mislead the
   jury.


    Agreed                Granted               Modified              Denied

13. That Defendants be prohibited from claiming or stating that the nation’s court
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   systems are overloaded due to cases such as this or similar cases or references or
   statements like “there are too many lawsuits” or “too much litigation.” References of
   this nature are irrelevant and prejudicial. These matters are generally inadmissible,
   irrelevant and prejudicial to Plaintiff’s right to a fair and impartial trial. If relevant
   and/or admissible, the probation value of any such matter would be greatly
   outweighed by the danger of unfair prejudice, confusion of the issues, and/or
   misleading the jury. FED. R. EVID. 401, 402, and 403.


    Agreed                Granted               Modified              Denied

14. That if the Defendants feel any area which is covered by this Motion in Limine or
   any areas which by their nature are not admissible under the Rules of Evidence or
   Rules of Civil Procedure such as privileged communications, collateral source, prior
   settlement offer, etc. or that if the Defendants feel “a door has been opened,” that
   they must, before saying or presenting or exhibiting anything in the jury’s presence
   regarding same, that they approach the bench and make inquiry side bar without the
   jury being able to hear same in a voice designed so that the jury will not hear same.
   This particular limine subpart is to be followed regardless of the time of the trial,
   including arguments.



    Agreed                Granted               Modified              Denied

15. That Defendants be prohibited from making any reference to the jury that anyone
   can “pay some money and make up a lawsuit against another without any legal basis”
   trying to imply that this lawsuit is “frivolous” or “without merit.” Proper remedies
   and procedures of summary judgments, counter claims, dismissal for failing to
   state a claim upon which relief can be granted, etc. were all available to the
   Defendants. FED. R. EVID. 402 and 403.



    Agreed                Granted               Modified              Denied

16. Any reference to expert designations, disclosures, affidavits, pleadings, briefs,
   exhibits, or other documents filed in any other cases besides the instant action. Fed.
   R. Evid 802, 803, 403, 404.



    Agreed                Granted               Modified              Denied

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17. That Defendants be prohibited from making any reference to, mentioning, eliciting
   testimony, or offering any evidence relating to Plaintiff or any of Plaintiff’s witnesses
   prior marriages or past romantic relationships. Such matters are not relevant and
   would be offered only for the impermissible purpose of portraying Plaintiff or
   Plaintiff’s witnesses as a bad person. FED. R. EVID. 402, 403, 404, 406, and 609.



    Agreed                Granted               Modified              Denied

18. Any argument, testimony, or reference to any notion that any third party is to blame
   for this incident or negligent in causing this incident other than the Defendants. To
   date no such third party has been properly and timely disclosed or addressed in
   interrogatories seeking such information. Fed. R. Civ. P. 37(d) and 37(b)(2)(i-ii) and
   37(c); Fed. R. Civ. P. 26.

    Agreed                Granted               Modified              Denied


19. Any argument, testimony, or reference stating, inferring, or implying that alarms and
    sensors on the platform and in the Compressor Room do not trigger timed shut-
    downs. Plaintiff was ordered to response to alarms within approximately 3 minutes
    to prevent compressor shut-downs. Plaintiff sent interrogatories to each Defendant
    seeking information regarding which sensors and alarms trigger which types of
    consequences, and the Defendants wholly failed to timely provide any information.
    Fed. R. Civ. P. 37(d) and 37(b)(2)(i-ii).


    Agreed                Granted               Modified              Denied


20. Any argument, testimony, or reference stating, inferring, or implying that the
   Defendants did not have the ability to alter and program when and how fast certain
   alarms on the platform would trigger shut-downs. Plaintiff sent interrogatories to
   each Defendant seeking information regarding which sensors and alarms produce
   which types of responses, and the Defendants wholly failed to timely provide any
   information. Fed. R. Civ. P. 37(d) and 37(b)(2)(i-ii).


    Agreed                Granted               Modified              Denied


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21. Any argument, testimony, or reference stating, inferring, or implying that
   Waukesha-Pearce is in any way responsible for the incident. None of the Defendants
   properly disclosed any alleged contribution to the alleged incident by Waukesha-
   Pearce in response to interrogatories. Three of the Defendants failed to timely
   mention Waukesha-Pearce at all, and Shamrock only stated Waukesha-Pearce “may”
   have been negligent, without providing any factual support or contentions. Fed. R.
   Civ. P. 37(d) and 37(b)(2)(i-ii). Further, none of the Defendants timely stated in
   disclosures that Waukesha-Pearce is responsible. Fed. R. Civ. P. 26.


    Agreed               Granted               Modified             Denied



22. Any argument, testimony, or reference by Fieldwood, Island Operating, or
   Shamrock stating, inferring, or implying that Plaintiff is in any way responsible for
   the incident. None of these Defendants properly disclosed any alleged contribution
   to the alleged incident by Plaintiff in response to interrogatories. Two of the
   Defendants (Fieldwood and Island Operating) failed to timely mention Plaintiff at
   all, and Shamrock only stated Plaintiff “may” have been negligent, without providing
   any factual support or contentions. Fed. R. Civ. P. 37(d) and 37(b)(2)(i-ii). Further,
   none of these Defendants timely stated in disclosures that Plaintiff is responsible.
   Fed. R. Civ. P. 26 and 37(c).


    Agreed               Granted               Modified             Denied

23. Any argument, testimony, or reference by Wood Group stating, inferring, or
   implying that Plaintiff is in any way responsible for the incident beyond those reasons
   timely stated in response to Plaintiff’s interrogatory on this issue. Fed. R. Civ. P.
   37(d) and 37(b)(2)(i-ii). Further, Wood Group did not timely state in disclosures that
   Plaintiff is responsible. Fed. R. Civ. P. 26 and 37(c).


    Agreed               Granted               Modified             Denied

24. Any argument, testimony, or reference by Wood Group, Island Operating, or
   Shamrock as to the amount of oil being used at the platform or attempting to
   contradict Plaintiff’s evidence on this issue. The Defendants failed to timely provide
   any information regarding this issue in response to interrogatories. Fed. R. Civ. P.
   37(d) and 37(b)(2)(i-ii).


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    Agreed                Granted               Modified              Denied


25. Any argument, testimony, or reference by Fieldwood as to the amount of oil being
   used at the platform that seeks to alter or supplement the specific data referenced in
   response to Plaintiff’s interrogatory on this issue. Fieldwood failed to timely provide
   any information or contentions regarding this issue in response to interrogatories,
   besides vaguely pointing Plaintiff to documents. Fed. R. Civ. P. 37(d) and 37(b)(2)(i-
   ii).


    Agreed                Granted               Modified              Denied



26. Any argument, testimony, or reference by any Defendant that Plaintiff was the
   borrowed servant of the Defendants. This is an affirmative defense that was not
   properly pled in any of the Defendants’ answers, and is therefore waived. Perry v.
   Bo-Truc Inc., 1992 WL 56055, *1 (E.D. La. 1992). Woodfield v. Bowman, 193 F.3d
   354, 362 (5th Cir. 1999).


    Agreed                Granted               Modified              Denied

27. Any argument, testimony, or reference by any Defendant to any medical amounts
   less than the amount charged by medical providers, unless there is no evidence of the
   amount charged. Permitting the Defendants to instead reference less amounts paid
   by Workers’ Compensation or written off by providers who participate in Workers’
   Compensation would violate the collateral source rule. “Under the collateral source
   rule, a tortfeasor may not benefit, and an injured plaintiff's tort recovery may not be
   diminished, because of benefits received by the plaintiff from sources independent
   of the tortfeasor's procuration or contribution.” Griffin v. Louisiana Sheriff’s Auto
   Risk Ass’n, 802 So.2d 691, 714 (La. App. 1st Cir. 2001). The focus of the collateral
   source rule is that tortfeasors (here, the Defendants) should not benefit from the
   victim’s prudence in having insurance. Id. at 715. “This rationale can best be
   understood by analyzing the write-offs in two situations: one in which a tortfeasor
   injures an uninsured victim and the other in which the same tortfeasor, in the same
   manner and to the same extent, injures an insured victim.” Id. “Unless the write-
   offs are considered collateral sources, the tortfeasor would be relieved of his liability
   to the insured victim to the extent of the amount of the write-offs.” Id.



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       Agreed                Granted               Modified             Denied



       WHEREFORE, premises considered, Plaintiff moves this Court to order, before voir

dire, that (1) Defendants’ attorneys and, through them, any and all witnesses called for

Defendants, refrain from commenting on, mentioning, communicating, publishing, or

attempting to introduce evidence of, directly or indirectly, the matters in this Motion,

without first obtaining a favorable ruling from the Court outside the presence and hearing

of all jurors or prospective jurors; and (2) Defendant’s attorneys instruct their witnesses not

to volunteer, inject, disclose, state, or mention the matters in this Motion in the presence of

the jury, unless and until specifically questioned thereon.




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